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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                       Plaintiff

v.                                  Case No.: 4:22−cr−00300−JM

Dewayne Baker                                                                Defendant




                                NOTICE OF HEARING


     PLEASE take notice that a Detention Hearing has been set in this case for March 16,
2023, at 11:00 AM before Magistrate Judge Joe J. Volpe in Little Rock Courtroom # 2C in
the Richard Sheppard Arnold United States Courthouse located at 600 West Capitol
Avenue, Little Rock, Arkansas.



DATE: March 8, 2023                              AT THE DIRECTION OF THE COURT
                                                        TAMMY H. DOWNS, CLERK


                                                      By: Lorna E. Jones, Deputy Clerk




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